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Exhibit U
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Wednesday, July 6, 2016 at 10:08:43 AM Eastern Daylight Time

Subject: RE: Guy Gentile

Date: Wednesday, September 9, 2015 at 2:24:49 PM Eastern Daylight Time
From: Grippo, Nicholas (USANJ)

To: Adam Ford

Adam — thanks for the update on the gun permit and the potential meeting with Shams Patel. Please keep
me posted on whether the meeting takes place.

Nick

From: Adam Ford [mailto:aford@harrisobrien.com]
Sent: Tuesday, September 08, 2015 11:07 PM

To: Grippo, Nicholas (USANJ)

Subject: Guy Gentile

Nick,

| spoke with Mr. Gentile about the CT pistol application, and | am able to confirm everything | believed to be on the
case when we spoke this morning. This application for a license is, in fairness, a renewal, although it is showing as a
new application. The reason for this is because Mr. Gentile first obtained a CT pistol license at least five years ago in
connection with his having obtained a license to be a bails bondsman in CT, (a license which grants him a right to
carry in that state). Mr. Gentile accidentally let his pistol license lapse late last year, and when he went to renew, he
was told that since he missed the “renewal” period, he had to apply for a new license. So the application is for a
“new” license, but CT records should show him having been granted the same license for the past five years. For
what it is worth, Mr. Gentile submitted this license application almost nine months ago, this is not exactly a new
event.

Also, as | stated, Mr. Gentile in fact has no intention of obtaining another firearm in CT (or NY or anywhere). | can
confirm that Mr. Gentile is aware of your office’s prohibition on his obtaining any new firearms and will not violate
that condition imposed on him. He has no intention of obtaining any firearms beyond the one which your office
permitted him to keep. (And for the avoidance of any uncertainty, | am not including those firearms registered and
licensed by his wife, Karen, which are in his home, and which your office also permitted her to keep during the
pendency of his cooperation. )

| hope this answers all your questions on this matter.

| should also confirm what | stated with respect to Mr. Gentile’s potential meeting with Shams later this month, that |
in no way meant to suggest in my prior email that your office was directing that meeting. | was only intending on
keeping your office abreast of Mr. Gentile’s activities that he is undergoing to maintain the status quo in the eyes of
former targets. | am not certain right now if that meeting will take place, but if it does, the sole purpose of it is to not
create any potential suspicion regarding Mr. Gentile’s past conduct, this is particularly important given that Shams
was mentioned in the threat against him made by the Ghost.

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As always, let me know if you have any follow up questions.

—Adam

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